                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                              No. CR09-4060-MWB
 vs.                                           REPORT AND RECOMMENDATION
                                                CONCERNING PLEA OF GUILTY
 JAMIE PETERSON,
                 Defendant.
                                 ____________________


          On April 27, 2010, the above-named defendant, by consent, appeared before the
undersigned United States Magistrate Judge pursuant to Federal Rule of Criminal
Procedure 11, and entered pleas of guilty to Counts One and Four of the Superseding
Indictment. After cautioning and examining the defendant under oath concerning each of
the subjects mentioned in Rule 11, the court determined that the guilty pleas were
knowledgeable and voluntary, and the offenses charged were supported by an independent
basis in fact containing each of the essential elements of the offenses. The court therefore
RECOMMENDS that the pleas of guilty be accepted and the defendant be adjudged
guilty.
          At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if she answered any questions falsely, she could be prosecuted for
perjury or for making a false statement.        She also was advised that in any such
prosecution, the Government could use against her any statements she made under oath.
          The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated her full name, her age, and the extent of her
schooling. The court inquired into the defendant’s history of mental illness and addiction
to narcotic drugs. The court further inquired into whether the defendant was under the
influence of any drug, medication, or alcoholic beverage at the time of the plea hearing.


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From this inquiry, the court determined that the defendant was not suffering from any
mental disability that would impair her ability to make knowing, intelligent, and voluntary
pleas of guilty to the charges.
       The defendant acknowledged that she had received a copy of the Superseding
Indictment, and she had fully discussed these charges with her attorney.
       The court determined that the defendant was pleading guilty under a plea agreement
with the Government. After confirming that a copy of the written plea agreement was in
front of the defendant and her attorney, the court determined that the defendant understood
the terms of the plea agreement. The court then summarized the plea agreement, and made
certain the defendant understood its terms.
       The court explained to the defendant that because the plea agreement provided for
dismissal of charges if she pleaded guilty, a presentence report would be prepared and a
district judge would consider whether or not to accept the plea agreement. If the district
judge decided to reject the plea agreement, then the defendant would have an opportunity
to withdraw her pleas of guilty and change them to not guilty.
       The defendant was advised also that after her pleas were accepted, she would have
no right to withdraw the pleas at a later date, even if the sentence imposed was different
from what the defendant or her counsel anticipated.
       The court summarized the charges against the defendant, and listed the elements
of the crimes. The court determined that the defendant understood each and every element
of the crimes, ascertained that her counsel had explained each and every element of the
crimes fully to her, and the defendant’s counsel confirmed that the defendant understood
each and every element of the crimes charged.
       The court then elicited a full and complete factual basis for all elements of the
crimes charged in each Count of the Superseding Indictment to which the defendant was
pleading guilty.


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       The court advised the defendant of the consequences of her pleas, including, for
each Count, the maximum fine, the maximum term of imprisonment, and the mandatory
minimum term of imprisonment.
       With respect to Count One, the defendant was advised that the maximum fine is
$4,000,000; the maximum term of imprisonment is life; the mandatory minimum term of
imprisonment is ten years; the maximum period of supervised release is life; and the
minimum period of supervised release is five years.
       With respect to Count Four, the defendant was advised that the maximum fine is
$250,000; the maximum term of imprisonment is 20 years; and the maximum period of
supervised release is three years. A sentence under Count Four pursuant to 21 U.S.C.
§ 860a shall run consecutive to Count One.
       Count Three will be dismissed at sentencing.
       The defendant also was advised that the court is obligated to impose a special
assessment of $100.00 on each Count, for a total of $200.00, which the defendant must
pay. The defendant also was advised of the collateral consequences of a plea of guilty.
The defendant acknowledged that she understood all of the above consequences.
       The then explained supervised release to the defendant, and advised her that a term
of supervised release would be imposed in addition to the sentence of imprisonment. The
defendant was advised that there are conditions of supervised release, and that if she were
found to have violated a condition of supervised release, then her term of supervised
release could be revoked and she could be required to serve in prison all or part of the
term of supervised release without credit for time previously served on supervised release.
       The court also explained to the defendant that the district judge would determine the
appropriate sentence for her at the sentencing hearing. The defendant confirmed that she
understood the court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to


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challenge. The defendant acknowledged that she understood the sentence imposed might
be different from what her attorney had estimated. Defendant also acknowledges that her
plea agreement contains an appeal waiver, and she agrees to waive her appeal rights as set
out in that waiver. The defendant was advised that parole has been abolished.
         The defendant indicated she had conferred fully with her counsel and she was fully
satisfied with her counsel. The defendant’s attorney indicated the attorney had had full
access to the Government’s discovery materials, and they supported a factual basis for the
pleas.
         The defendant then was advised fully of her right to plead not guilty, or having
already entered a not guilty plea to persist in such plea, and to have a jury trial, including:
         1.    The right to assistance of counsel at every stage of the pretrial and trial
               proceedings;
         2.    The right to a speedy, public trial;
         3.    The right to have her case tried by a jury selected from a cross-section of the
               community;
         4.    That she would be presumed innocent at each stage of the proceedings, and
               would be found not guilty unless the Government could prove each and
               every element of the offense beyond a reasonable doubt;
         5.    That the Government could call witnesses into court, but the defendant’s
               attorney would have the right to confront and cross-examine these witnesses;
         6.    That the defendant would have the right to see and hear all witnesses
               presented at trial;
         7.    That the defendant would have the right to subpoena defense witnesses to
               testify at the trial, and if she could not afford to pay the fees and costs of
               bringing these witnesses to court, then the Government would be required
               to pay those fees and costs;
         8.    That the defendant would have the privilege against self incrimination; i.e.,
               she could choose to testify at trial, but she need not do so, and if she chose
               not to testify, then the court would instruct the jury that the defendant had
               a constitutional right not to testify;


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       9.     That any verdict by the jury would have to be unanimous;
       10.    That she would have the right to appeal, and if she could not afford an
              attorney for the appeal, then the Government would pay the costs of an
              attorney to prepare the appeal.
       The defendant also was advised of the rights she would waive by entering a plea of
guilty. The defendant was told there would be no trial, she would waive all the trial rights
just described, and she would be adjudged guilty without any further proceedings except
for sentencing.
       The defendant then confirmed that her decision to plead guilty was voluntary and
was not the result of any promises other than plea agreement promises; no one had
promised her what the sentence would be; and her decision to plead guilty was not the
result of any threats, force, or anyone pressuring her to plead guilty.
       The defendant then confirmed that she still wished to plead guilty, and she pleaded
guilty to Counts One and Four of the Superseding Indictment.
       The court finds the following with respect to the defendant’s guilty plea:
       1.     The guilty plea is voluntary, knowing, not the result of force, threats or
              promises, except plea agreement promises, and the defendant is fully
              competent.
       2.     The defendant is aware of the maximum punishment.
       3.     The defendant knows her jury rights.
       4.     The defendant has voluntarily waived her jury rights.
       5.     There is a factual basis for the plea.
       6.     The defendant is, in fact, guilty of the crimes to which she is pleading guilty.
       The defendant has executed a Consent to the Court’s Inspection of Presentence
Report Prior to Guilty Plea. The defendant was advised that a written presentence
investigation report would be prepared to assist the court in sentencing. The defendant was
told that she and her counsel would have an opportunity to read the presentence report
before the sentencing hearing and to object to the contents of the report, and she and her

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counsel would be afforded the opportunity to present evidence and be heard at the
sentencing hearing.
      The defendant was advised that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar her from attacking
this court’s Report and Recommendation, which recommends that the assigned United
States District Judge accept the defendant’s pleas of guilty. A copy of this Report and
Recommendation was served on the defendant and her attorney at the conclusion of the
proceeding.
      DONE AND ENTERED at Sioux City, Iowa, this 27th day of April, 2010.




                                         PAUL A. ZOSS
                                         CHIEF MAGISTRATE JUDGE
                                         UNITED STATES DISTRICT COURT




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